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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                       Chapter 11

BOY SCOUTS OF AMERICA AND                                    Case No. 20-10343 (LSS)
DELAWARE BSA, LLC, 1
                                                             (Jointly Administered)
                           Debtors.


BOY SCOUTS OF AMERICA,

                           Plaintiff,                        Adv. Pro. No. 20-50527 (LSS)

            v.

A.A., et al., 2                                              Related Adv. Docket Nos. 6, 7, 32

                           Defendants.

    DECLARATION OF ADRIAN C. AZER IN SUPPORT OF THE BSA’S REPLY BRIEF
      IN FURTHER SUPPORT OF MOTION FOR A PRELIMINARY INJUNCTION
       PURSUANT TO SECTIONS 105(A) AND 362 OF THE BANKRUPTCY CODE




1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 W. Walnut Hill Ln., Irving, Texas 75038.
2
  A full list of the Defendants in this adversary proceeding is included in redacted form on Exhibit A to the BSA’s
Verified Complaint for Injunctive Relief [Adv. D.I No. 1] to protect the privacy interests of abuse victims.
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Niagara Frontier Council, Inc., Boy Scouts ofAmerica ("GNF Council") share the insurance

coverage available as both the BSA and Local Councils are identified as "Named Insureds":

       Name ofInsured-Boy Scouts ofAmerica; National Regional and All Local
       Councils ...

See Named Insured Endorsement (Endorsement No. 2), INA Policy No. XCP 144961 (Ex. A).

       8.      As such, the BSA and the GNF Council share the limits ofliability for the

remaining insurance policy in 1983 and the limits ofliability ofthat policy have already been

partially eroded based on the pre-petition settlement ofalleged sexual-abuse claims.

       9.      Thus, once the limits ofliability ofthe sole remaining INA excess policy is

exhausted, no insurance coverage will be available for any other sexual-abuse claimant(s)

alleging abuse against the BSA that commenced in 1983.



I declare under penalty ofperjury that the foregoing is true and correct.



Executed on this 22nd day of March, 2020 in the District of Columbia, Washington.




                                                             ADRIAN C. AZER
